
Upon consideration of the Joint Petition for Order Placing Respondent on Inactive Status as Final Disposition and Respondent's accompanying Affidavit pursuant to Maryland Rule 19-736(c)(2), it is this 15th day of August, 2017, **313ORDERED, by the Court of Appeals of Maryland, that William Stephen Paleos, Respondent, who was previously placed on inactive status by this Court's Order dated July 28, 2017, is now placed on inactive status by consent, pending further Order of this Court, as the final disposition of the captioned disciplinary or remedial proceeding; and it is further
ORDERED, that the Clerk of this Court shall issue notice of this final disposition in accordance with Maryland Rule 19-761(b); and it is further *606ORDERED, that the parties shall bear their own costs.
